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                ORAL ARGUMENT NOT YET SCHEDULED

           IN THE UNITED STATES COURT OF APPEALS FOR
                THE DISTRICT OF COLUMBIA CIRCUIT


                                             )
UTILITY SOLID WASTE ACTIVITIES               )
GROUP, et al.                                )
                                             )
                         Petitioners,        )
                   v.                        )
                                             )          Nos. 15-1219, et al.
U.S. ENVIRONMENTAL PROTECTION                )          (filed on behalf of
AGENCY,                                      )          Petitioners in No. 15-
                                             )          1222)
                         Respondent.         )
                                             )
                                             )
                                             )
                                             )


             LAFARGE’S PRELIMINARY AND NONBINDING
                     STATEMENT OF ISSUES

      Pursuant to this Court’s July 17, 2015 Order, Petitioners Lafarge North

America Inc., Lafarge Midwest, Inc., and Lafarge Building Materials Inc.

(“Lafarge”) hereby submit the following preliminary and nonbinding statement of

issues in their challenge to the “Coal Combustion Residues” (CCR) rule issued by

Respondents (the “Rule”) under review in these consolidated cases:

      1. Whether the Rule’s definition of “Beneficial use of CCR” set forth in 40

C.F.R. §257.53 (at 80 Fed. Reg. 21469) – particularly condition #4 of such
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definition – was issued without notice and opportunity for public comment in

violation of the federal Administrative Procedure Act (APA) and well-settled

principles of federal administrative rulemaking.

      2. Whether the “demonstration” requirement in condition #4 referenced in

Issue 1 above is authorized by statute, arbitrary and capricious, and/or issued

without notice and comment.

      3. Whether the 12,400-ton trigger level in condition #4 referenced in Issue 1

above is authorized by statute, arbitrary and capricious, and/or issued without

notice and comment.

      4. Whether the 12,400-ton trigger level in condition #4 referenced in Issue 1

above has any basis in the record when credible evidence was presented to

Respondents on April 1, 2015 showing significant calculation errors that would

result in the 12,400-ton level being much higher, and Respondent has to this day

offered no public response whatever to such evidence.

      5. Whether Respondents’ position – as articulated in the Rule’s preamble at

80 Fed. Reg. 21356 – that condition #4 referenced in Issue 1 above applies to

CCR’s being stored on land for beneficial use as an ingredient in the portland

cement process is authorized by statute, arbitrary and capricious, and/or issued

without notice and comment.




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      6. Whether the Rule or Respondent’s actions in issuing the Rule are

otherwise unlawful.

      Lafarge retains the right to raise any additional issue at the time briefs are

filed in these consolidated cases.



      Dated: August 10, 2015



                                           Respectfully submitted,


                                           /s/ Richard G. Stoll
                                           _________________________
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                        CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was on this 10th day of
August 2015, served electronically through the Court’s CM/ECF system on all
registered counsel.

                                                 /s/ Richard G. Stoll




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